
PER CURIAM.
The sole issue on appeal in this case is appellant's challenge to the constitutionality of section 39.061, Florida Statutes (Supp. 1990). We reverse.
We recently held sections 39.061 and 39.-01(61), Florida Statutes (Supp.1990), unconstitutional as an unlawful delegation of legislative authority to an administrative agency. D.P. v. State, 597 So.2d 952 (Fla. 1st DCA 1992). Appellant has challenged section 39.061 on the same grounds that were raised in D.P. We agree that the statute is unconstitutional for the reasons expressed in D.P.
Accordingly, appellant’s adjudication of delinquency is hereby reversed and this matter is remanded to the lower tribunal with instructions to discharge appellant.
JOANOS, C.J., and KAHN, J., concur.
ERVIN, J., specially concurs with opinion.
